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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   WESTERN DIVISION


 UNITED STATES OF AMERICA,
                                                           No. 1:19-cr-00052-RGE-HCA
       Plaintiff,
                                                            ORDER GRANTING
 v.                                                      DEFENDANT’S MOTION TO
                                                           DISMISS INDICTMENT
 SCOTT LOWELL CHURCH,

       Defendant.

I.     INTRODUCTION

       Defendant Scott Lowell Church was indicted on one count of failure to register as a sex

offender. Redacted Indictment, ECF No. 2. He now moves to dismiss the indictment, arguing his

duty to register expired prior to the events alleged in the indictment. Def.’s Mot. Dismiss

Indictment, ECF No. 23. For the reasons set forth below, the Court grants Church’s motion to

dismiss.

II.    BACKGROUND

       The Court takes the allegations in the indictment as true for the purpose of considering

Church’s motion to dismiss. See Boyce Motor Lines, Inc. v. United States, 342 U.S. 337, 343 n.16

(1952). The following facts are either alleged in the indictment or submitted in the parties’ briefing.

See Def.’s Br. Supp. Mot. Dismiss Indictment 1–2, ECF No. 23-1; Gov’t’s Resist. Def.’s Mot.

Dismiss Indictment 1–2, ECF No. 34.

       On June 22, 2001, Church was charged with first-degree sexual assault under Nebraska

law. ECF No. 23-1 at 2. The information alleged that Church “did subject another person to sexual

penetration without consent of the victim; knew or should have known that the victim was mentally

or physically incapable of resisting or appraising the nature of his or her conduct.” Id.; Def.’s Ex. A
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Supp. Mot. Dismiss Indictment 2, ECF No. 23-2. 1 Church pleaded no contest to the charge. ECF

No. 23-1 at 2; ECF No. 23-2 at 6. He entered his plea to an amended version of the indictment

with handwritten modifications indicating the crime was an attempt 2 and that it caused serious

personal injury to the victim. 3 ECF No. 23-1 at 2; ECF No. 23-2 at 5; see Def.’s Ex. B Supp. Mot.

Dismiss Indictment, ECF No. 23-3. Church was sentenced to 15 to 30 months of imprisonment.

ECF No. 23-1 at 2; ECF No. 23-2 at 7. He was released from prison on September 4, 2003. ECF

No. 23-1 at 2; Def.’s Ex. C Supp. Mot. Dismiss Indictment, ECF No. 23-4.

       On September 25, 2019—roughly sixteen years after his release from prison—Church was

indicted in the Southern District of Iowa on one count of failure to register as a sex offender. ECF

No. 2. The indictment alleges Church was required to register as a sex offender under the Sex

Offender Registration and Notification Act (“SORNA”), 34 U.S.C. § 20911 et seq. Id. It further




1 In response to Church’s motion to dismiss, the Government asserts, without citation, that
“Defendant was accused of victimizing a mentally disabled twenty-year-old by fondling her
genitals, forcing her to perform oral sex on the Defendant, and penetrating her vagina with his
penis.” ECF No. 34 at 1; see also Gov’t’s Sur-Reply Def.’s Mot. Dismiss Indictment 2–3,
ECF No. 36. As discussed below, the categorical approach—not the modified categorical
approach—applies in this case. Thus, the Court cannot consider the facts of Church’s prior
conviction, no matter how aggravating. See Mathis v. United States, 136 S. Ct. 2243, 2248 (2016).
Even if the modified categorical approach applied, the facts underlying Church’s conviction could
only be considered by the Court if they originated from a “limited class of documents.” See id. at
2249; cf. United States v. Hill, 820 F.3d 1003, 1005 (8th Cir. 2016) (observing that a court applying
the distinct circumstance-specific approach may look to “reliable evidence” of the circumstances
giving rise to the defendant’s conviction). The Government’s factual assertions are not tethered to
any such documents.
2 The first handwritten modification provides Church “[did] intentionally engage in conduct which

would constitute the crime if the attendant circumstances were as he believed, to wit: attempt.”
ECF No. 23-2 at 5. This language quotes nearly verbatim one of the subsections of Nebraska’s
criminal attempt statute. See Neb. Rev. Stat. § 28-201(1)(a).
3 Nebraska’s first-degree sexual assault statute provides: “The sentencing judge shall consider

whether the actor caused serious personal injury to the victim in reaching a decision on the
sentence.” Neb. Rev. Stat. § 28-319(2). Serious personal injury is a sentencing consideration, not
an element of the crime. State v. Freeman, 677 N.W.2d 164, 175 (Neb. 2004).


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alleges that, as early as April 2019 and continuing to on or about September 2019, Church traveled

in interstate commerce from Idaho to Iowa after failing to register. Id.

        Church now moves to dismiss the indictment. ECF No. 23; see also Def.’s Reply Br. Supp.

Mot. Dismiss Indictment, ECF No. 35. The Government resists. ECF No. 34; see also Gov’t’s Sur-

Reply Def.’s Mot. Dismiss Indictment, ECF No. 36.

III.    LEGAL STANDARD

        A criminal indictment must include “a plain, concise, and definite written statement of the

essential facts constituting the offense charged.” Fed. R. Crim. P. 7(c)(1). “[A]n indictment must

allege that the defendant performed acts which, if proven, constitute the violation of law for which

he is charged. If the acts alleged in the indictment do not constitute a violation of law, the

indictment is properly dismissed.” United States v. Polychron, 841 F.2d 833, 834 (8th Cir. 1988).

A criminal defendant may move to dismiss an indictment for “failure to state an offense.” Fed. R.

Crim. P. 12(b)(3)(B)(v). Generally, an indictment is insufficient only if it omits an essential

element of the offense. United States v. Hance, 501 F.3d 900, 906 (8th Cir. 2007).

        Ordinarily, a court does not look beyond the four corners of the indictment when judging

its sufficiency. See United States v. Farm & Home Sav. Ass’n, 932 F.2d 1256, 1259 n.3

(8th Cir. 1991). But here, both parties invite the court to consider facts outside the indictment. See

ECF No. 23-1 at 2–3; ECF No. 34 at 1–2. Although the parties do not address the issue, other

courts considering the sufficiency of SORNA-based indictments have reasoned that looking to

extrinsic evidence is permissible when the material facts are undisputed and the challenge presents

a pure question of law. United States v. Grant, No. 1:17-CR-236-AT-AJB, 2018 WL 4516008, at

*2 (N.D. Ga. July 4, 2018), report and recommendation adopted, No. 1:17-CR-0236-AT, 2018 WL

4140870 (N.D. Ga. Aug. 30, 2018) (addressing whether a defendant had a duty to register under

SORNA in a pretrial motion to dismiss the indictment because it was a pure legal question based


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on undisputed facts); United States v. Marrowbone, No. 3:14–CR–30071–RAL, 2014 WL

6694781, at *2 (D.S.D. Nov. 26, 2014) (same); cf. United States v. Brown, No. 11–174, 2012 WL

604185, at *4 (W.D. Pa. Feb. 24, 2012) (denying a defendant’s motion to dismiss an indictment

because the sufficiency of the indictment turned on “factual questions [that] cannot be addressed

in the context of a motion to dismiss the indictment”). The Eighth Circuit has not addressed this

issue.

          The Court finds the reasoning of other district courts persuasive, and concludes that looking

past the four corners of the indictment is proper here. As the district court noted in Grant, the

Federal Rules of Criminal Procedure provide that “[a] party may raise by pretrial motion any

defense, objection, or request that the court can determine without a trial on the merits.” 2018 WL

4516008, at *1 (alteration in original) (quoting Fed. R. Crim. P. 12(b)(1)). Consistent with this

rule, Church may raise his challenge to the indictment at this stage because it presents a pure

question of law, based on undisputed facts, and thus it can be resolved without a trial on the merits.

As the court noted in Marrowbone, “if [the defendant’s] claim is valid, it would be unfair to [the

defendant] and a waste of judicial resources to begin a trial on an indictment that would be

dismissed on a legal issue.” 2014 WL 6694781, at *2. Therefore, the Court will accept the parties’

invitation to look outside the indictment in ruling on Church’s motion to dismiss.

IV.       DISCUSSION

          Church argues the indictment is legally insufficient because his duty to register as a sex

offender expired before his alleged failure to register. ECF No. 23-1 at 3–10. 4 The Government

argues Church had a duty to register at the time of the events alleged in the indictment, and he


4 Church argues in the alternative that SORNA is unconstitutional as applied to individuals with
convictions that preceded its 2006 enactment. ECF No. 23-1 at 10–11. Church raises this argument
for preservation purposes only; he concedes that Supreme Court precedent forecloses this Court
from ruling in his favor on this basis. Id. at 11; ECF No. 35 ¶ 9.


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failed to do so. ECF No. 34 at 2. The parties’ dispute stems from their disagreement about Church’s

sex offender classification under SORNA.

        SORNA requires sex offenders to register, and to keep their registrations current, in the

jurisdictions where they reside, work, and attend school. 34 U.S.C. § 20913(a). The length of a sex

offender’s duty to register depends on his or her tier classification. See id. § 20915(a). Tier III

offenders—the “most egregious” category—must register for life. United States v. Mulverhill, 833

F.3d 925, 928 (8th Cir. 2016) (internal quotation marks omitted) (quoting United States v. Morales,

801 F.3d 1, 3 (1st Cir. 2015)); 34 U.S.C. § 20913(a)(3). Tier II offenders must register for twenty-

five years. 34 U.S.C. § 20913(a)(2). And tier I offenders must register for fifteen years. Id. at

§ 20913(a)(1).

        SORNA defines the tiers in part by reference to other federal statutes. A tier III sex offender

is one whose offense of conviction is a felony that is (A) “comparable to or more severe than” (i)

aggravated sexual abuse or sexual abuse as defined in 18 U.S.C. §§ 2241 and 2242, respectively,

or (ii) abusive sexual contact as defined in 18 U.S.C. § 2244 against a minor under the age of

thirteen; (B) involves kidnapping a minor; or (C) occurs when the offender is already a tier II

offender. 34 U.S.C. § 20911(4). Tier II comprises sex offenders with certain prior felony

convictions against minors and those who commit felonies while tier I offenders. Id. § 20911(3).

Tier I is a catchall for sex offenders who do not qualify as tier II or tier III offenders. Id. § 20911(2).

        Church contends he is a tier I offender, meaning his duty to register lasted only 15 years

and expired in September 2018—several months before the events alleged in the indictment. ECF

No. 23-1 at 3–10; see ECF No. 2. The Government argues Church is a tier III offender who must

register for life. ECF No. 34 at 3–6. Relying on subsection (A)(i) of the tier III definition, the

Government argues that Church’s conviction for first-degree sexual assault in Nebraska is

comparable to or more severe than aggravated sexual abuse or sexual abuse as defined in 18 U.S.C.


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§§ 2241 and 2242. Id.; see 34 U.S.C. § 20911(4)(A)(i). Church does not dispute that he is a sex

offender under SORNA, and neither party argues Church is a tier II offender. Therefore, the

sufficiency of the indictment turns on whether Church’s Nebraska conviction is comparable to or

more severe than the federal crimes of aggravated sexual abuse or sexual abuse, as they are defined

in 18 U.S.C. §§ 2241 and 2242.

       Federal courts generally use one of two analytical approaches when comparing prior

convictions with the generic or federal offenses listed in statutes requiring a predicate offense, like

SORNA. United States v. Berry, 814 F.3d 192, 195 (4th Cir. 2016); see Nijhawan v. Holder, 557

U.S. 29, 34 (2009). One is the “categorical approach,” which compares the “elements” of a prior

offense with the elements of the listed offense. See Mathis v. United States, 136 S. Ct. 2243, 2248

(2016); see also Taylor v. United States, 495 U.S. 575, 602 (1990) (holding a state burglary

conviction qualifies as “burglary” under the Armed Career Criminal Act if its statutory elements

match the generic offense of burglary). This approach disregards the facts, or “means,” of a prior

conviction and focuses on the elements of the crimes at issue. Mathis, 136 S. Ct. 2248. Only if the

elements of the prior offense are the same as, or narrower than, the elements of the listed offense,

does the prior offense qualify as the listed offense. Id. The other approach, called “circumstance-

specific,” requires a court to consider the facts behind the offense of conviction and ask if the

offense, as committed, satisfies the elements of the listed offense. See Nijhawan, 557 U.S. at 40

(holding that whether a prior fraud or deceit offense involves loss in excess of $10,000 to the

victim and thus qualifies as an aggravated felony triggering deportation under the Immigration and

Nationality Act depends on the specific circumstances of the offense).

       Neither the Supreme Court nor the Eighth Circuit has decided which approach applies

when comparing prior sex offenses with the federal offenses listed in 34 U.S.C. § 20911(4)(A)(i).

See Mulverhill, 833 F.3d at 929–30. Notably, the Eighth Circuit has held courts should apply the


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circumstance-specific approach to decide whether a prior offense involves “conduct that by its

nature is a sex offense against a minor,” under a separate provision of SORNA. United States v.

Hill, 820 F.3d 1003, 1005 (8th Cir. 2016) (quoting 34 U.S.C. 20911(7)(I)). But, as the Eighth

Circuit has since emphasized, Hill did not resolve which approach governs the provisions of

SORNA applicable here. Mulverhill, 833 F.3d at 929–30; see United States v. Hall, 772 F. App’x

375, 375 (8th Cir. 2019) (unpublished) (suggesting the categorical approach applies without

deciding the issue); see also Nijhawan, 557 U.S. at 37–38 (observing that different provisions of

the same statute may call for different approaches).

       Relying on an apparent consensus among circuits that have decided the issue—all of whom

have held the categorical approach applies in this context—both parties ask the Court to apply the

categorical approach. ECF No. 23 at 5; ECF No. 34 at 3; ECF No. 35 ¶ 1; see United States v.

Barcus, 892 F.3d 228, 231–32 (6th Cir. 2018); United States v. Young, 872 F.3d 742, 746 (5th Cir.

2017); Berry, 814 F.3d at 197; United States v. White, 782 F.3d 1118, 1135 (10th Cir. 2015);

Morales, 801 F.3d at 6; United States v. Cabrera-Gutierrez, 756 F.3d 1125, 1133 (9th Cir. 2014);

United States v. Taylor, 644 F.3d 573, 576–77 (7th Cir. 2011). Given the parties’ agreement and

the weight of authority outside the Eighth Circuit, the Court will apply the categorical approach.

       To apply the categorical approach, the Court must compare the elements of Church’s

offense of conviction—first-degree sexual assault under Nebraska law—to the federal crimes

listed in 34 U.S.C. § 20911(4)(A)(i). Ordinarily, the elements of the offense of conviction must be

the same as, or narrower than, those of the federally defined offense. Mathis, 136 S. Ct. 2248. But

SORNA’s tier III provisions—unlike other statutory provisions which require the categorical

approach—use the word “comparable.” 34 U.S.C. § 20911(4)(A); cf. Taylor, 495 U.S. at 600–02.

As other courts have noted, the word “comparable” implies the offense of conviction need not be

“identical” to a federal offense listed in § 20911(4)(A). United States v. Coleman, 681 F. App’x


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413, 416 (5th Cir. 2017) (unpublished). Instead, crimes may be comparable even if the elements

of the offense of conviction are “slightly broader” than those of the listed offense. Id. (internal

quotation marks omitted) (quoting United States v. Forster, 549 F. App’x 757, 769 (10th Cir. 2013)

(unpublished)); see Morales, 801 F.3d at 7 (noting the word “comparable” may allow for “some

flexibility in examining the offenses”).

       To identify the elements of each crime, the Court begins with the statutory definitions.

Looking first to the federal offenses listed in 34 U.S.C. § 20911(4)(A)(i), there are two methods

of committing the offense of aggravated sexual abuse under 18 U.S.C. § 2241: First, a person who

“knowingly causes another person to engage in a sexual act—(1) by using force against that other

person; or—(2) by threatening or placing that other person in fear that any person will be subjected

to death, serious bodily injury, or kidnapping” commits aggravated sexual abuse. 18 U.S.C.

§ 2241(a). Second, a person who “knowingly . . . renders another person unconscious and thereby

engages in a sexual act with that other person” or “administers to another person by force or threat

of force, or without the knowledge or permission of that person, a drug, intoxicant, or other similar

substance,” and as a result “substantially impairs the ability of that other person to appraise or

control conduct” and then “engages in a sexual act with that other person” commits aggravated

sexual abuse. Id. § 2241(b).

       As for sexual abuse under 18 U.S.C. § 2242, a person commits this offense if he or she

“knowingly . . . (1) causes another person to engage in a sexual act by threatening or placing that

other person in fear (other than by threatening or placing that other person in fear that any person

will be subjected to death, serious bodily injury, or kidnapping)” or “(2) engages in a sexual act

with another person if that other person is . . . (A) incapable of appraising the nature of the conduct

. . . or (B) physically incapable of declining participation in, or communicating unwillingness to

engage in, that sexual act.” 18 U.S.C. § 2242.


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       With these definitions in mind, the Court turns to Church’s offense of conviction. Church

was convicted of first-degree sexual assault under Nebraska law. At the time of his conviction,

Nebraska’s first-degree sexual assault statute provided in relevant part:

               (1) Any person who subjects another person to sexual penetration
               (a) without consent of the victim, or (b) who knew or should have
               known that the victim was mentally or physically incapable of
               resisting or appraising the nature of his or her conduct, or (c) when
               the actor is nineteen years of age or older and the victim is less than
               sixteen years of age is guilty of sexual assault in the first degree.

Neb. Rev. Stat. § 28-319(1) (Reissue 1995). 5 The term “without consent” was defined as:

               (a)(i) The victim was compelled to submit due to the use of force or
               threat of force or coercion, or (ii) the victim expressed a lack of
               consent through words, or (iii) the victim expressed a lack of consent
               through conduct, or (iv) the consent, if any was actually given, was
               the result of the actor’s deception as to the identity of the actor or
               the nature or purpose of the act on the part of the actor;

               (b) The victim need only resist, either verbally or physically, so as
               to make the victim’s refusal to consent genuine and real and so as to
               reasonably make known to the actor the victim’s refusal to consent;
               and

               (c) A victim need not resist verbally or physically where it would be
               useless or futile to do so.

Neb. Rev. Stat. § 28-318(8) (Reissue 1995).

       The parties disagree on the elements of Nebraska’s first-degree sexual assault statute.

Church argues the statute has only one set of elements, making it “indivisible.” ECF No. 23-1 at

7–9. The Government argues the statute has alternative elements—only some of which apply



5 Nebraska’s first-degree sexual assault statute was amended in 2006. See L.B. 1199, 99th Leg.,
2d Sess. (Neb. 2006). The only substantive change to the portion quoted above added that a victim
under subsection (c) must be at least twelve years old. See id. Otherwise, the version of § 28-319
that Church was charged and convicted under mirrors the present version of the statute, including
the definition of “without consent” in § 28-318(8). See id. Because the pre- and post-2006 versions
of the statute are materially identical for present purposes, the Court generally cites to the current
version of the Nebraska statute in this order.


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here—making it “divisible.” ECF No. 36 at 1–2. 6 Additionally, the parties disagree on how the

elements of the Nebraska statute compare with the federal crimes listed in 34 U.S.C.

§ 20911(4)(A)(i). Church argues the elements of the Nebraska statute are broader than those of

aggravated sexual abuse and sexual abuse under 18 U.S.C. §§ 2241 and 2242. ECF No. 23 at 6–7,

9–10; ECF No. 35 ¶¶ 5–7. The Government contends the Nebraska statute covers the same ground

as both aggravated sexual abuse and sexual abuse, making it comparable to both statutes. ECF No.

34 at 5–6; ECF No. 36 at 3–4.

       For the reasons discussed below, the Court concludes Nebraska’s first-degree sexual

assault statute has only one set of elements, meaning it is indivisible. Comparing these statutory

elements to the elements of aggravated sexual abuse and sexual abuse under 18 U.S.C. §§ 2241

and 2242, the Court further concludes that Nebraska’s statute reaches a considerably larger range

of conduct than both federal statutes. Because Nebraska’s first-degree sexual assault statute is not

comparable or more severe than either of the crimes listed in 34 U.S.C. § 20911(4)(A)(i), Church

is a tier I offender whose duty to register under SORNA had expired at the time of the events

alleged in the indictment.

       A.      Nebraska’s First-Degree Sexual Assault Statute Is Indivisible.

       Church argues the Nebraska statute has two elements: 1) sexual penetration, and 2) lack of

valid consent. ECF No. 23-1 at 8. He argues that subsections (a), (b), and (c) are alternative means

of satisfying the second element. Id. The Government disagrees, arguing that subsections (a), (b),

and (c) create three different crimes. ECF No. 36 at 1–2.


6 In its response to Church’s motion to dismiss, the Government argued the Nebraska statute was
indivisible. ECF No. 34 at 3–5. The Government clarified its position in its sur-reply, arguing
subsections (a), (b), and (c) are alternative elements, each of which defines a separate crime. ECF
No. 36 at 1–2. The Government does not dispute that subsection (a)—which defines “without
consent” in four alternative ways—is indivisible. Id.; see Neb. Rev. Stat. § 28-319(1)(a); Neb.
Rev. Stat. § 28-318(8).


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       Nebraska’s first-degree sexual assault statute is “alternatively phrased,” meaning it lists

multiple items disjunctively. Mathis, 136 S. Ct. at 2256. When faced with an alternatively phrased

statute, a court’s first task is “to determine whether its listed items are elements or means.” Id.

“‘Elements’ are the ‘constituent parts’ of a crime’s legal definition—the things the ‘prosecution

must prove to sustain a conviction.’” Id. at 2248 (quoting Black’s Law Dictionary 634 (10th ed.

2014)). At trial, a crime’s elements are what a jury must find beyond a reasonable doubt to convict

a defendant. Id. At a plea hearing, the elements are what a defendant must admit to when he or she

pleads guilty. Id. “[M]eans,” by contrast, are the factual methods of committing an element of an

offense. See id. at 2248–49. They have no legal effect or consequence under the categorical

approach. Id. at 2248.

       A statute that lists alternative elements is “divisible.” Id. at 2249. If a statute is divisible, a

court must “review the record materials to discover which of the enumerated alternatives played a

part in the defendant’s prior conviction, and then compare that element (along with the others)

with those of the generic crime.” Id. at 2256. This is known as the “modified categorical approach.”

Id. at 2249.

       A statute that lists alternative means is “indivisible.” Id. at 2248–49. If a statute is

indivisible, a court ignores the facts of the prior conviction and inquires “only whether the elements

of the state crime and the generic offense make the requisite match.” Id. at 2256 (emphasis

omitted).

       There are a few ways to tell whether a statute is divisible. First, a state court decision might

answer the question. Id. In Mathis, for example, Iowa’s burglary statute was indivisible because

an Iowa Supreme Court case described the alternative components—the types of premises to which

the statute applied—as “‘alternative method[s]’ of committing one offense, so that a jury need not

agree whether the burgled location was a building, other structure, or vehicle.” Id. (alteration in


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original) (quoting State v. Duncan, 312 N.W.2d 519, 523 (Iowa 1981)). Second, the statute itself

might resolve the issue. Id. For example, if the statutory alternatives correspond to different

penalties, they are elements. Id. Third, if state law does not answer the question, a federal court

may “peek” at the record of the prior conviction for the “limited purpose of determining whether

the listed items are elements of the offense.” Id. at 2256–57 (alterations omitted) (internal

quotation marks and citation omitted). If, for example, an indictment and the corresponding jury

instructions list each statutory alternative, “[t]hat is as clear an indication as any that each

alternative is only a possible means of commission, not an element that the prosecutor must prove

to a jury beyond a reasonable doubt.” Id. at 2257. Conversely, where these documents reference

only one statutory alternative, the alternatives are elements. Id.

       Here, Nebraska’s statute is indivisible. To begin, the Nebraska Supreme Court provides

guidance. In State v. McCurdy, the Nebraska Supreme Court described the elements of § 28-319

as follows: “To prove guilt under § 28-319, it must be shown that the offender subjected the victim

to sexual penetration along with one of the three alternatives set forth in § 28-319(1)(a), (b), and

(c).” 918 N.W.2d 292, 299 (Neb. 2018). This description suggests that the alternative items listed

in the Nebraska statute are not elements the prosecution must prove, but rather alternative means

of satisfying a single element, which Church aptly calls “lack of valid consent.” ECF No. 23-1 at

8. The Nebraska Supreme Court’s analysis in McCurdy confirms this interpretation. The

prosecutor had charged the defendant under subsections (a) and (b) of § 28-319(1), and the judge

had instructed the jury on both alternatives. 918 N.W.2d at 299. The defendant appealed the

sufficiency of the evidence, and the Nebraska Supreme Court held the defendant’s conviction

should be affirmed so long as the evidence supported a conviction under either subsection (a) or

subsection (b). Id. at 300.




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          The other Mathis factors compel the same conclusion. Subsections (a), (b), and (c) carry

the same penalties, which suggests they are alternative means of committing a singular offense

and do not define separate crimes. See Mathis, 136 S. Ct. at 2256; Neb. Rev. Stat. § 28-319. And

the record of Church’s prior conviction demonstrates that subsections (a), (b), and (c) are

alternative means of satisfying a single element. As in McCurdy, both the original information and

the amended information to which Church pleaded guilty list subsections (a) and (b), rather than

specifying which one Church violated. ECF No. 23-2 at 2, 5; McCurdy, 918 N.W.2d at 299. Listing

out the statutory alternatives in this manner “is as clear an indication as any that each alternative

is only a possible means of commission, not an element that the prosecutor must prove to a jury

beyond a reasonable doubt.” Id. at 2257.

          The Government disputes that § 28-319 is indivisible. Relying on State v. Rossbach, it

argues that Nebraska’s first-degree sexual assault statute lists three separate crimes: a) sexual

penetration done without the consent of the victim; b) sexual penetration with a mentally or

physically incapacitated victim; and c) sexual penetration by a nineteen-year-old where the victim

is between twelve and sixteen years old. ECF No. 36 at 1–2 (citing 650 N.W.2d 242, 249–50 (Neb.

2002)).

          Rossbach does not support the Government’s argument. Rossbach held a victim’s lack of

consent is not an element of first-degree sexual assault when the victim is incapable of resisting or

appraising the nature of his or her conduct. 650 N.W.2d at 250. That holding clarifies the meaning

of subsection (b)—not whether subsections (a), (b), and (c) are elements or means. Elsewhere in

the opinion, the court states: “There are three distinct ways in which a perpetrator can commit the

offense of first degree sexual assault under § 28–319(1).” Id. at 249. In other words, first-degree

sexual assault is a singular crime that may be committed in alternative ways, rather than three

separate crimes with distinct elements. The Rossbach holding is limited: a defendant may be


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convicted under subsection (b) even if the prosecution does not prove lack of consent. See id. at

250. This holding does not preclude a prosecutor from charging multiple subsections in the

alternative—as happened in Church’s case and in McCurdy. Thus, a prosecutor does not have to

prove any one subsection beyond a reasonable doubt. See ECF No. 23-2 at 2, 5; McCurdy, 918

N.W.2d at 299.

       Putting Rossbach aside, there is also a more fundamental problem with the Government’s

argument that the Nebraska statute is divisible. Even assuming the statute is divisible, the

Government has not explained how the Court should—or even could—apply the modified

categorical approach to identify its elements. When a statute is divisible, the court must review a

limited class of record materials to identify the specific elements—from among the statutory

alternatives—upon which the defendant’s conviction rests. Mathis, 136 S. Ct. at 2249. For a plea-

based conviction, these materials are “the statutory definition, charging document, written plea

agreement, transcript of plea colloquy, and any explicit factual finding by the trial judge to which

the defendant assented.” Shepard v. United States, 544 U.S. 13, 16 (2005). Here, the only Shepard

documents in the record are the charging information and the amended information to which

Church pleaded guilty. ECF No. 23-2 at 2, 5. Both documents list the alternative subsections (a)

and (b) of Nebraska’s statute. As such, even if the statute were divisible, the Court would have no

basis for narrowing down the elements applicable to Church’s conviction, beyond the elimination

of subsection (c). And with no record materials to clarify the applicable subsections, two statutes

cannot be considered comparable under the modified categorical approach. See United States v.

Montanez–Trejo, 708 F. App’x 161, 168 (5th Cir. 2017) (unpublished) (holding the defendant’s

conviction for first-degree sexual assault under Neb. Rev. Stat. § 28-319 “does not qualify under

the generic offense of sexual abuse of a minor given that the lone Shepard-approved document in




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the record does not clarify the subsection under which he was convicted” and declining to

determine the divisibility of the statute).

        First-degree sexual assault in Nebraska has two elements: 1) sexual penetration, and 2) lack

of valid consent. 7 Subsections (a), (b), and (c) list alternative means of satisfying the second

element. Because neither party disputes that Nebraska’s definition of “sexual penetration” is

comparable to the term “sexual act” in §§ 2241 and 2242, the only dispute is whether the second

element of Nebraska’s statute—lack of valid consent—criminalizes conduct that §§ 2241 and 2242

do not reach.

        B.      Nebraska’s First-Degree Sexual Assault Statute Is Not Comparable to or
                More Severe Than the Federal Crimes of Aggravated Sexual Abuse or
                Sexual Abuse.

        The parties primarily dispute how Nebraska’s first-degree sexual assault statute compares

with sexual abuse under § 2242, and only briefly discuss how it compares with aggravated sexual

abuse under § 2241. The Court separately compares the Nebraska statute with these federal

offenses.

                1.      The Nebraska statute is not comparable to sexual abuse under 18
                        U.S.C. § 2242.

        Church offers two reasons why Nebraska’s first-degree sexual assault statute is not

comparable to the federal crime of sexual abuse, as defined in 18 U.S.C. § 2242. ECF No. 23-1 at

6–7. First, he points to subsection (iv) of Nebraska’s “without consent” definition, under which a


7 As noted above, Church pleaded guilty to attempted first-degree sexual assault. See ECF No.
23-2 at 5. Both SORNA and the federal statutes defining aggravated sexual abuse and sexual abuse
include attempt in their definitions. 34 U.S.C. § 20911(4)(A)(i); 18 U.S.C. §§ 2241, 2242. The
parties do not discuss the elements of attempt when comparing Church’s offense of conviction
with the crimes listed in 34 U.S.C. § 20911(4)(A)(i). Because the elements of Church’s offense of
conviction are not comparable to either §§ 2241 or 2242 without regard to the additional elements
of attempt, the Court need not compare the elements of attempt under Nebraska law and federal
law. More generally, and for the same reason, the Court does not consider whether there are
differences or similarities between the statutes beyond those the parties identify.


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person acts “without consent” if he or she obtains consent through deception. ECF No. 23-1 at 6;

Neb. Rev. Stat. § 28-318(8)(iv). He argues the same conduct—sexually penetrating a person after

obtaining that person’s consent through deception—would not violate 18 U.S.C. § 2242. ECF No.

23-1 at 6. Second, and more broadly, Church argues that Nebraska’s statute covers more conduct

than § 2242 because it generally prohibits nonconsensual sexual penetration, whereas § 2242

proscribes only discrete categories of nonconsensual sex involving threats, fear, or victim

incapacitation. ECF No. 35 ¶ 6.

       In response, the Government argues the conduct covered by § 2242—engaging in a sexual

act with a person who is physically or mentally incapacitated, or inducing a person to engage in a

sexual act through threats or fear—is a “clear match” with Nebraska’s “without consent”

definition. ECF No. 34 at 6. Responding to Church’s argument about deception-based consent, the

Government contends that § 2242 forbids sexually penetrating a person after obtaining that

person’s consent through deception because it prohibits engaging in a sexual act with someone

who is “incapable of appraising the nature of the conduct.” Id.; ECF No. 36 at 3–4. Finally, the

Government asserts that, even if there is a slight variation between the statutes, they are still

“comparable,” which is all that SORNA requires. ECF No. 34 at 6; ECF No. 36 at 4.

       As some courts have observed, the text of § 2242 does not include a general prohibition on

nonconsensual sex. See, e.g., United States v. James, 810 F.3d 674, 679 (9th Cir. 2016)

(“Noticeably absent from 18 U.S.C. § 2242 is a provision punishing non-consensual intercourse.”).

Instead, it proscribes three discrete categories of inherently nonconsensual sexual acts: (1) sexual

acts accomplished through making threats or instilling fear in the victim, where such threats or

fear do not involve death, serious bodily injury, or kidnapping; (2)(A) sexual acts with persons

who are “incapable of appraising the nature of the conduct”; and (2)(B) sexual acts with persons




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who are “physically incapable of declining participation in, or communicating unwillingness in,

that sexual act.” 18 U.S.C. § 2242.

       Some provisions of Nebraska’s first-degree sexual assault statute appear comparable to

§ 2242. For example, subsection (b) of the Nebraska statute—which prohibits knowingly engaging

in sexual penetration with a victim who is “mentally or physically incapable of resisting or

appraising the nature of his or her conduct”—tracks subsection (2) of § 2242, which prohibits

sexual acts with incapacitated persons. Compare Neb. Rev. Stat. § 28-319(1)(b), with 18 U.S.C. §

2242(2); see United States v. Bruguier, 735 F.3d 754, 760 (8th Cir. 2013) (en banc) (referring to

§ 2242(2) as “the victim-incapacity element of the offense”). Similarly, Nebraska’s prohibition on

sexual penetration accomplished without consent through force, threat of force, or coercion mirrors

subsection (1) of § 2242, which proscribes sexual acts accomplished through threats or fear.

Compare Neb. Rev. Stat. § 28-319(1)(a), and Neb. Rev. Stat. § 28-318(8)(a)(i), with 18 U.S.C. §

2242(1).

       But other provisions of the Nebraska statute have no apparent analogue in § 2242. Namely,

Nebraska’s definition of “without consent” reaches situations where the victim withholds

consent—whether verbally or by conduct—and situations where consent is obtained through

deception. Neb. Rev. Stat. § 28-319(1)(a); Neb. Rev. Stat. § 28-318(8)(a)(ii)–(iv). The plain

language of § 2242 does not appear to reach these situations—at least absent threats, fear, or

incapacitation—and some courts have concluded it does not. See Cabrera-Gutierrez, 756 F.3d at

1134 (“Nonconsensual intercourse with a mentally and physically capable individual not involving

a threat or the use of fear might violate Or.Rev.Stat. § 163.425, but it would not violate 18 U.S.C.

§ 2242.”); cf. United States v. Villarreal, No. CR 10–50082–JLV, 2012 WL 683356, at *9 (D.S.D.

Mar. 2, 2012) (reasoning evidence only supported attempt under § 2242 because the defendant did




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not use force and the victim was awake and unintoxicated at the time of the alleged sexual abuse),

aff’d, 707 F.3d 942 (8th Cir. 2013).

           The Eighth Circuit has not addressed whether § 2242 prohibits all nonconsensual sex. But

in summarizing the statutory elements, the Eighth Circuit has implied it does not. In

United States v. Ford, the Eighth Circuit reviewed the defendant’s kidnapping conviction, which

the defendant argued was inconsistent with his acquittal at the same trial for sexual abuse under

§ 2242(2). 726 F.3d 1028, 1029 (8th Cir. 2013). In rejecting this argument, the court discussed the

elements of § 2242(2), and suggested that nonconsensual sex, without more, does not violate the

statute:

                  To convict Ford on the sexual abuse count, the jury had to find all
                  five elements of the offense beyond a reasonable doubt. Excluding
                  the fourth and fifth elements, which concern jurisdiction, the jury
                  might have reasonably doubted any or all of the remaining contested
                  elements. These elements required proof that (1) “Ford ... knowingly
                  engage[d] in or attempt [ed] to engage in a sexual act
                  with ... Weston;” (2) either “Weston was incapable of appraising the
                  nature of the conduct, or alternatively [that she] was physically
                  incapable of declining participation in or communicating
                  unwillingness to engage in the sexual act;” and (3) either “Ford
                  knew that ... Weston was incapable of appraising the nature of the
                  conduct, or alternatively [that he knew that she] was physically
                  incapable of declining participation in or communicating
                  unwillingness to engage in the sexual act.” See 18 U.S.C. § 2242(2).
                  A jury finding of reasonable doubt on any one of those three
                  elements would require acquittal. Thus, it is entirely possible that
                  the jury found beyond a reasonable doubt that “Ford ... knowingly
                  engage[d] in or attempt[ed] to engage in a sexual act with ...
                  Weston,” but it still acquitted him on the sexual abuse count because
                  it reasonably doubted whether Weston was incapacitated in some
                  way or whether Ford knew that Weston was incapacitated.

Id. at 1032 (alterations in original) (emphasis added). The Eighth Circuit’s conclusion that a lack

of incapacitation or knowledge “would require acquittal” implies that subsection (2) of § 2242

does not criminalize nonconsensual sex absent incapacitation. Although the Eighth Circuit

addressed only subsection (2), its reasoning suggests that a defendant could not be convicted under


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subsection (1) absent threats or fear, even if the defendant committed a nonconsensual sex act. By

contrast, Nebraska’s first-degree sexual assault statute expressly prohibits sexual penetration done

“without consent.” See Neb. Rev. Stat. § 28-319(1)(a); Neb. Rev. Stat. § 28-318(8). It appears,

therefore, that Nebraska’s first-degree sexual assault statute criminalizes a significant category of

conduct that § 2242 does not reach.

        The Government resists this conclusion for several reasons, but none of its arguments

explains how § 2242 can be read to encompass nonconsensual sexual acts that do not involve

threats, fear, or victim incapacitation. First, the Government asserts in conclusory fashion that

§ 2242 is a “clear match with Nebraska’s ‘without consent’ element of its sexual assault crime.”

ECF No. 34 at 6. The Government provides no analysis or support for this proposition beyond an

inapposite quotation from Bruguier. Id. (quoting Bruguier, 735 F.3d at 762 (noting § 2422(2)

covers a “victim’s incapacity or inability to consent”)). This argument does not address how

§ 2242(2) can be read to cover situations of nonconsent that do not involve incapacity or inability

to consent—e.g., nonconsent expressed through words or conduct. See Neb. Rev. Stat. § 28-

318(8)(a)(ii)–(iii).

        Next, relying on the Nebraska Supreme Court’s decision in State v. Willis, the Government

argues the Nebraska statute should be read narrowly as a “crime of violence” that requires victims

to be “overcome” by threats, force, coercion, or deception. ECF No. 36 at 3 (quoting 394 N.W.2d

648, 650–51 (Neb. 1986)). But Willis dealt with a prior version of Nebraska’s first-degree sexual

assault statute, which provided in relevant part: “Any person who subjects another person to sexual

penetration and (a) overcomes the victim by force, threat of force, express or implied, coercion, or

deception ... is guilty of sexual assault in the first degree.” 394 N.W.2d at 650 (omission in

original) (internal quotation marks omitted) (quoting Neb. Rev. Stat. § 28-319(1) (Reissue 1979)).

The Willis court’s statements about § 28-319 relied on this quoted language, which is no longer


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part of the statute. See id. In 1995, the Nebraska legislature substantially amended § 28-319. See

1995 Neb. Laws L.B. 371 § 4. In doing so, it deleted “overcome” and replaced the “force, threat

of force, express or implied, coercion, or deception” language with “without consent.” Id. And it

added the four-part definition of “without consent” now in effect, which lists deception separately

from “force or threat of force or coercion.” Id. § 3; State v. Koperski, 578 N.W.2d 837, 842 (Neb.

1998) (noting the addition of “without consent” to § 28-319(1)(a)). In short, Willis relied on now-

repealed language from § 28-319 that has no counterpart in the current statute or the version in

effect when Church was charged. The Government’s reliance on Willis is misplaced.

       The Government’s reliance on State v. Orosco is misplaced for the same reason.

No. A-98-299, 1999 WL 247119 (Neb. Ct. App. Apr. 6, 1999) (unpublished). The defendant there

challenged the sufficiency of the evidence supporting his conviction for first-degree sexual assault,

arguing “there was no evidence that he overcame [the victims] by force, threat of force, express or

implied coercion or deception.” Id. at *4 (internal quotation marks omitted). The Nebraska Court

of Appeals rejected his argument, finding “there was force, threat of force, coercion, or deception

sufficient to support the convictions.” Id. As these quotations make clear, the Orosco court looked

to the prior version of § 28-319 discussed in Willis, although it was repealed years before the

defendant’s 1997 assaults.

       In response to Church’s argument that § 2242 has no analogue to Nebraska’s prohibition

on consent obtained through deception, the Government argues the language of § 2242(2)(A),

which prohibits sexual acts with persons who are “incapable of appraising the nature of the

conduct,” covers the same ground as the Nebraska statute on this point. ECF No. 34 at 6; see Neb.

Rev. Stat. § 28-318(8)(iv) (defining “without consent” to include situations where consent is

obtained through “the actor’s deception as to the identity of the actor or the nature or purpose of

the act on the part of the actor”). In its sur-reply, the Government cites two cases for this argument.


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ECF No. 36 at 3–4. First, it cites State v. Collins, where the Nebraska Court of Appeals affirmed

a defendant’s conviction under § 28-319(1)(b), concluding: “We believe the evidence is ample to

establish that [the defendant’s] manipulation and deception of [the victim] rendered her incapable

of resisting or appraising the real nature of the sexual penetration that he visited upon her during

the relevant time period.” 583 N.W.2d 341, 352 (Neb. Ct. App. 1998). Second, it cites United

States v. Vallie, where the Eighth Circuit reviewed a conviction under § 2242(2)(A) that involved

sexual intercourse accomplished through deception. 284 F.3d 917, 919–20 (8th Cir. 2002).

       Collins provides only marginal support for the Government’s argument. Taken in isolation,

the above language from Collins might seem to equate deception with incapacity. But Collins dealt

only with subsection (b) of Nebraska’s statute, involving incapacitation, and not the deception

provision. 583 N.W.2d at 346; compare Neb. Rev. Stat. § 28-319(1)(b), with Neb. Rev. Stat. § 28-

318(8)(iv). The court’s use of the word “deception” was not a reference to the statute; instead, the

court used the word to describe how the defendant—“a highly trained psychotherapist who

specialized in treating sexually abused youth”—“used the tools and techniques of his trade to mold

[two] young girls into his sexual robots.” 583 N.W.2d at 352. This form of “manipulation and

deception,” the court held, rendered the teenage girls “incapable of resisting or appraising the real

nature of the sexual penetration,” as required by § 28-319(1)(b). Id. Collins does not discuss

whether other forms of deception—e.g., deceiving an unimpaired adult—equate to incapacity. And

the existence of separate subsections for incapacity and deception in the Nebraska statute suggests

they have independent meaning. Compare § 28-319(1)(b), with § 28-318(8)(iv).

       Vallie provides even less support for the Government’s argument. As the Government

acknowledges, the Vallie court did not review the sufficiency of the evidence for the defendant’s

conviction under 18 U.S.C. § 2242(2)(A). See ECF No. 36 at 4. Thus, the Government cites Vallie

simply to demonstrate that defendants have been convicted under § 2242(2)(A) for deceiving


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others into sexual intercourse. Id. But Vallie does not support even that proposition. The victim in

Vallie was assaulted after going to bed at 4:00 a.m., following a party where alcohol was served.

284 F.3d at 919. Shortly after going to sleep, she was awakened by the defendant having sex with

her. Id. Based on this factual record, the likely basis for the defendant’s conviction under

§ 2242(2)(A) was that the victim was asleep, intoxicated, or both, at the time of the assault. Cf.

United States v. Carter, 410 F.3d 1017, 1027 (8th Cir. 2005) (holding victim was unable to appraise

the nature of the defendant’s conduct under § 2242(2)(A) because she had ingested marijuana and

alcohol and felt “drowsy” and “very tired” at the time of the assault). And even if deception were

the basis for the defendant’s conviction, Vallie would still provide no support for the Government’s

argument because the Eighth Circuit did not address the sufficiency of the evidence, meaning it

had no occasion to consider whether deception equates to incapacitation under § 2242(2)(A).

       More generally, the Government’s argument relies on a broad reading of the word

“incapable,” which lacks support in the case law. Court have generally held that § 2242(2)(A)

covers mental incapacitation—i.e., situations where the victim is “mentally incapable of

understanding what is happening.” James, 810 F.3d at 676; see United States v. Walker, No.

17-CR-184-pp, 2018 WL 3325909, at *8 (E.D. Wis. July 6, 2018); cf. Carter, 410 F.3d at 1027.

Deception is different than mental incapacitation; persons with full capacity can be deceived.

Therefore, Nebraska’s prohibition on deception-induced consent covers conduct that § 2242(2)(A)

does not reach.

       Finally, the Government argues that, even if the statutes are not identical, they are at least

“comparable.” ECF No. 34 at 6; ECF No. 36 at 4. If Nebraska’s prohibition on deception-based

consent were the only difference between the statutes, the Government’s argument might carry the

day. Although the deception provision of the Nebraska statute has no precise analogue in § 2242,

deception is arguably comparable to taking advantage of someone because of their lack of capacity,


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or using threats or fear to induce compliance. But Nebraska’s prohibition on deception-based

consent is not the only divergence between the statutes. The Nebraska statute also contains a

general prohibition on sexual penetration “without consent.” Neb. Rev. Stat. § 28-319(1)(a). And

this subsection encompasses not only deception-based consent, but also a victim’s refusal to

consent expressed through words or conduct. Neb. Rev. Stat. § 28-318(8)(ii)–(iii). There is no

similar provision in § 2242, which singles out discrete categories of inherently nonconsensual

sex—those involving threats, fear, or victim incapacitation—without including a backstop

prohibition on nonconsensual sexual acts. The Government fails to acknowledge this difference

between the statutes, and therefore cannot establish this discrepancy as only a minimal variation

between otherwise comparable statutes. Nebraska’s “without consent” provision, which has no

counterpart in § 2242, distinguishes this case from cases where courts have found statutes

comparable despite slight variations. Cf. Coleman, 681 F. App’x at 417–18 (holding element of

“sexual or aggressive intent” in a Minnesota statute was comparable to element of “intent to abuse

. . . or gratify the sexual desire of any person” under 18 U.S.C. § 2246(3), even though Minnesota

statute may have covered a “slightly broader range of conduct”). Therefore, the Court is unable to

conclude that Nebraska’s first-degree sexual assault statute is “comparable” to § 2242.

               2.     The Nebraska statute is not comparable to aggravated sexual abuse
                      under 18 U.S.C. § 2241.

       The parties only briefly discuss whether Nebraska’s first-degree sexual assault statute is

comparable to or more severe than aggravated sexual abuse under 18 U.S.C. § 2241. The

Government concedes lack of consent is not an element of § 2241, but argues the statutes are still

comparable because “lack of consent remains relevant” to the analysis under § 2241.

ECF No. 34 at 5 n.2. Church argues the Nebraska statute is “much broader” than § 2241 because




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it requires proof of an enumerated aggravating circumstance, while the Nebraska statute does not

require any aggravating circumstances. ECF No. 35 at 3 n.1.

       Nebraska’s first-degree sexual assault statute is not comparable to or more severe than

aggravated sexual abuse under § 2241. Aggravated sexual abuse covers sexual acts accomplished

through force; threats of death, serious bodily injury, or kidnapping; inducing fear of death, serious

bodily injury, or kidnapping; rendering a person unconscious; or drugging a person.

18 U.S.C. § 2241. Like § 2242, § 2241 requires more than lack of consent. See United States v.

Cobenais, 868 F.3d 731, 740 (8th Cir. 2017). Instead, the statute proscribes only discrete categories

of nonconsensual sex that involve aggravating circumstances. Absent one of these aggravating

circumstances, it does not prohibit nonconsensual sex. See id. Nebraska’s first-degree sexual

assault statute, by contrast, covers all nonconsensual sexual penetration, whether or not

aggravating circumstances are present.

       The Government’s argument that § 2241 is comparable to Nebraska’s first-degree sexual

assault statute because “lack of consent remains relevant” to the analysis under § 2241 is

unpersuasive. ECF No. 34 at 5 n.2 (citing Cobenais, 868 F.3d at 740). To demonstrate that § 2241

is comparable to or more severe than Nebraska’s first-degree sexual assault statute, the

Government must explain why Nebraska’s statute does not cover more ground than § 2241. It

cannot merely point to certain general similarities between the two statutes while ignoring

significant differences.

       The Court finds no legal basis for reading §§ 2241 or 2242 as general prohibitions on

nonconsensual sex, and therefore Nebraska’s first-degree sexual assault statute is not comparable

to or more severe than either federal crime. As discussed above, Nebraska expanded its first-degree

sexual assault statute in 1995 to include a prohibition on sexual penetration done “without

consent.” See 1995 Neb. Laws L.B. 371 § 4. In doing so, Nebraska eliminated the requirement that


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a victim be “overcome” by threats, force, coercion, or deception. Id. Congress has not similarly

amended the definitions of aggravated sexual abuse and sexual abuse contained in §§ 2241 and

2242 since it enacted them in 1986. Compare Criminal Law and Procedure Technical Amendments

Act of 1986, Pub. L. No. 99–646, § 87, 100 Stat. 3592 (1986), with 18 U.S.C. §§ 2241, 2242. Both

§§ 2241 and 2242 still require something beyond nonconsensual sex—such as the use of force,

threats, coercion, or incapacitation. Around the time that Congress enacted §§ 2241 and 2242,

some argued that the “force” required by rape and sexual assault laws should include the force

inherent in nonconsensual sexual acts. See, e.g., Susan Estrich, Rape, 95 Yale L.J. 1087, 1105–06

(1986). Some state courts later interpreted their states’ sexual assault statutes in this manner. See,

e.g., State ex rel. M.T.S., 609 A.2d 1266, 1277 (N.J. 1992). But the Government has not advanced

this interpretation of § 2241, nor has it provided any other legal basis for concluding that all

nonconsensual sex is covered by the circumstances listed in §§ 2241 or 2242.

V.     CONCLUSION

       Nebraska’s first-degree sexual assault statute is not comparable to or more severe than

aggravated sexual abuse or sexual abuse, as those crimes are defined in 18 U.S.C. §§ 2241 and

2242. Therefore, Church does not qualify as a tier III sex offender under SORNA. See 34 U.S.C.

§ 20911(4)(A)(i). Because Church is a tier I sex offender, his duty to register under SORNA lasted

fifteen years. Id. § 20915(a)(1). Church was released from prison on September 4, 2003. ECF No.

23-4. His alleged failure to register occurred between April 2019 and September 2019—more than

fifteen years after he was released from prison. ECF No. 2. Because the indictment does not allege

a criminal offense, it must be dismissed.




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     IT IS ORDERED that Defendant Scott Lowell Church’s Motion to Dismiss,

ECF No. 23, is GRANTED.

     IT IS SO ORDERED.

     Dated this 4th day of February 2020.




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